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 4
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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              CASE NO. 2:13-CR-00052 TLN
12                                Plaintiff,                STIPULATION REGARDING
                                                            EXCLUDABLE TIME PERIODS
13   v.                                                     UNDER SPEEDY TRIAL ACT;
                                                            FINDINGS AND ORDER
14   GILBERT ARREAZOLA and
     DERRICK DAVIS,
15
                                  Defendants,
16

17
                                                STIPULATION
18
            Plaintiff United States of America, by and through its counsel of record, defendant
19
20 DERRICK DAVIS, by and through his counsel of record, Scott N. Cameron, and GILBERT

21 ARREAZOLA, by and through his counsel of record, MICHAEL BIGELOW, hereby stipulate as

22 follows:

23
            1.      By previous order, this matter was set for status on May 30, 2013, at 9:30 a.m.
24
            2.      By this stipulation, defendants now move to continue the status conference until July
25
     11, 2013, at 9:30 a.m., and to exclude time between May 30, 2013, and July 11, 2013, under Local
26
     Code T4. Plaintiff does not oppose this request.
27

28          3.      The parties agree and stipulate, and request that the Court find the following:
                                                        1
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30
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            a.      The government has produced discovery to the defense in this case which consists of
 1
     292 pages of written or photographic material and 9 compact disks of recorded audio materials.
 2

 3          b.      Discovery pages 201-292 were discovered to the defense on May 10, 2013, in

 4 compliance with the informal discovery request of the defense. These recently discovered

 5 documents will be the basis of additional legal research and investigation by the defense.

 6
            c.      Respective counsel for each defendant desires additional time to review the document
 7
     and audio file discovery, consult with their client regarding the discovery, conduct investigation, and
 8
     to discuss potential resolution with their client and the government.
 9

10          d.      Counsel for each defendant believes that failure to grant the above-requested

11 continuance would deny defendants the reasonable time necessary for effective preparation, taking

12 into account the exercise of due diligence.

13          e.      The government does not object to the continuance.
14
            f.      Based on the above-stated findings, the ends of justice served by continuing the case
15
     as requested outweigh the interest of the public and the defendant in a trial within the original date
16
     prescribed by the Speedy Trial Act.
17

18          g.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

19 seq., within which trial must commence, the time period of May 30, 2013, to July 11, 2013,
20 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

21
     because it results from a continuance granted by the Court at defendant’s request on the basis of the
22
     Court's finding that the ends of justice served by taking such action outweigh the best interest of the
23
     public and the defendant in a speedy trial.
24
     ///
25
26 / / /

27   ///
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                                                        2
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                 Case 2:13-cr-00052-TLN Document 17 Filed 05/31/13 Page 3 of 3


            4.      Nothing in this stipulation and order shall preclude a finding that other provisions of
 1
     the Speedy Trial Act dictate that additional time periods are excludable from the period
 2

 3 within which a trial must commence.

 4

 5 IT IS SO STIPULATED.

 6

 7
     DATED:         May 28, 2013
 8
 9                                         /s/ Jason Hitt___________________
                                           JASON HITT
10                                         Assistant United States Attorney

11
     DATED:         May 28, 2013
12

13                                         /s/ Scott Cameron
                                           SCOTT N. CAMERON
14                                         Counsel for DERRICK DAVIS

15
     DATED:         May 28, 2013
16

17                                         /s/ Michael Bigelow
                                           MICHAEL BIGELOW
18                                         Counsel for GILBERT ARREAZOLA

19
20

21                                                ORDER

22
            IT IS SO FOUND AND ORDERED this 30th day of May, 2013.
23

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25
26                                                                      Troy L. Nunley
                                                                        United States District Judge
27

28
                                                        3
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30
